        Case 1:15-cr-10338-FDS Document 1992 Filed 02/19/18 Page 1 of 2



                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                           )
                                                   )
              v.                                   )      Criminal No. 15-10338-FDS
                                                   )
6.     HERZZON SANDOVAL                            )
       a/k/a “CASPER,”                             )
                                                   )
7.     EDWIN GUZMAN                                )
       a/k/a “PLAYA,”                              )
                                                   )
11.    CESAR MARTINEZ                              )
       a/k/a “CHECHE,”                             )
                                                   )
14.    ERICK ARGUETA LARIOS                        )
       a/k/a “LOBO,”                               )
                                                   )
                      Defendants                   )

                   GOVERNMENT’S PROPOSED JURY INSTRUCTION
                     REGARDING NON-RACKETEERING ACTS

       The United States respectfully requests that the Court remove accessory after the fact

to murder and attempted murder from its list of non-racketeering acts because that crime is a

RICO predicate act, albeit not one that is charged in the indictment in this case. See United

States v. Patriarca, 912 F. Supp. 596, 627 (D. Mass. 1995) (Wolf, J.) (noting that 18 U.S.C.

§1961(1) “states that ‘any act . . . involving murder’ is a RICO predicate. In this context, to

‘involve’ means ‘to relate closely.’ See Webster's New International Dictionary Unabridged 1191

(3d ed. 1981). The court finds that being an accessory after the fact to murder relates closely

to murder. Thus, §1961(1) makes the crime a RICO predicate.”). Since the indictment in this

case does not charge the defendants or their coconspirators with accessory after the fact to

murder or attempted murder in aid of the MS-13 racketeering enterprise, the government does

not request that the Court affirmatively instruct the jury on the elements of this crime.
        Case 1:15-cr-10338-FDS Document 1992 Filed 02/19/18 Page 2 of 2



However, since accessory after the fact to murder or attempted murder is a racketeering act,

the jury should not be instructed that it is not.

                                             Respectfully submitted,

                                             ANDREW E. LELLING
                                             United States Attorney

                                      By:    /s/ Kelly Begg Lawrence
                                             KELLY BEGG LAWRENCE
                                             CHRISTOPHER POHL
                                             Assistant United States Attorneys


                                CERTIFICATE OF SERVICE

       I hereby certify that this document, filed through the Court’s Electronic Court Filing
(ECF) system on February 19, 2018, will be sent electronically to the registered participants
as identified on the Notice of Electronic Filing (NEF).

                                      By:    /s/ Kelly Begg Lawrence
                                             KELLY BEGG LAWRENCE
                                             Assistant United States Attorney




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